           Case:21-10768-TBM Doc#:9 Filed:02/21/21                                        Entered:02/21/21 22:22:07 Page1 of 5
                                                              United States Bankruptcy Court
                                                                   District of Colorado
In re:                                                                                                                 Case No. 21-10768-TBM
Audrey K Naomi Dolan                                                                                                   Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Feb 19, 2021                                               Form ID: 769                                                              Total Noticed: 35
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 21, 2021:
Recip ID                 Recipient Name and Address
db                     + Audrey K Naomi Dolan, 581 Delta Avenue, Akron, CO 80720-1039
18972075                 A T and T Bankruptcy, RE: XXX XXX 1458, 433 Communications Dr, Flr 4W, Dallas, TX 75211
18972074              #+ Advance Recovery Service, RE: XXX XXX 1458, 4770 S 900 E, 100, Salt Lake City, UT 84117-4609
18972051               + Capital One WalMart Card, RE: XXX XXX 0001, PO Box 30285, Salt Lake City, UT 84130-0285
18972055               + Farmers State Bank, RE: XXX XXX 2670, PO Box 300, Akron, CO 80720-0300
18972058               + Home Depot Credit Cards Private Label, RE: XXX XXX 2753, PO Box 20483, Kansas City, MO 64195-0483
18972056               + Home Depot Credit Cards Private Label, RE: XXX XXX 7252, PO Box 20483, Kansas City, MO 64195-0483
18972057               + Home Depot Credit Cards Private Label, RE: XXX XXX 7077, PO Box 20483, Kansas City, MO 64195-0483
18972059                 Kay Jewelers, RE: XXX XXX 6774, PO Box 659728, Kansas City, MO 64195
18972077                 Mr Cooper, RE: XXX XXX 7646, PO Box 6509783, Dallas, TX 75265
18972062               + PayPal Merchant Accounts, RE: XXX XXX 3673, 2211 North First St, San Jose, CA 95131-2021
18972063               + Peak to Peak Podiatry, RE: XXX XXX u000, 1222 Lanyon Lane, Longmont, CO 80503-3641
18972064               + Sears Credit Cards Private Label, RE: XXX XXX 5900, PO Box 20483, Kansas City, MO 64195-0483
18972066               + Security Service FCU, RE: XXX XXX 9071, PO Box 691550, San Antonio, TX 78269-1550
18972065               + Security Service FCU, RE: XXX XXX 0349, PO Box 691550, San Antonio, TX 78269-1550
18972071               + The Bureaus Inc, RE: XXX XXX 6774, 650 Dundee Rd, Ste 370, Northbrook, IL 60062-2757
18972080                 Tom Kneedler, RE: XXX XXX 0000, 467 State Highway 63, Akron, CO 80720
18972073               + United Resource Systems, RE: XXX XXX u000, 3501 S Keller St, Lakewood, CO 80235-2011
18972068               + Viaero Wireless, RE: XXX XXX 3778, 1224 W Platte Ave, Fort Morgan, CO 80701-2949
18972076               + Wakefield and Associates, RE: XXX XXX 1528, PO Box 1127, Fort Morgan, CO 80701-1127
18972070               + Yuma District Hospital, RE: XXX XXX 9467, 1000 W 8th Ave, Yuma, CO 80759-2641

TOTAL: 21

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: ingrid.defranco@gmail.com
                                                                                        Feb 19 2021 22:54:00      Ingrid J. DeFranco, PO Box 128, Brighton, CO
                                                                                                                  80601-0128
tr                     + EDI: QJCSMILEY.COM
                                                                                        Feb 20 2021 02:48:00      John Smiley, 600 17th Street, Suite 2800S,
                                                                                                                  Denver, CO 80202-5428
18972079                  Email/Text: BANKRUPTCY@BELLCO.ORG
                                                                                        Feb 20 2021 01:33:00      Bellco Credit Union, RE: XXX XXX 2523, PO
                                                                                                                  Box 6611, Greenwood Village, CO 80155
18972078                  Email/Text: BANKRUPTCY@BELLCO.ORG
                                                                                        Feb 20 2021 01:33:00      Bellco Credit Union, RE: XXX XXX 4058, PO
                                                                                                                  Box 6611, Greenwood Village, CO 80155
18972049               + EDI: CAPITALONE.COM
                                                                                        Feb 20 2021 02:48:00      Capital One Credit Cards, RE: XXX XXX 2821,
                                                                                                                  PO Box 30285, Salt Lake City, UT 84130-0285
18972050               + EDI: CAPITALONE.COM
                                                                                        Feb 20 2021 02:48:00      Capital One Credit Cards, RE: XXX XXX 5142,
                                                                                                                  PO Box 30285, Salt Lake City, UT 84130-0285
18972069               + EDI: WFNNB.COM
                                                                                        Feb 20 2021 02:48:00      Comenity Bank Victorias Secret, RE: XXX XXX
                                                                                                                  0420, PO Box 182125, Columbus, OH
                                                                                                                  43218-2125
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Date Rcvd: Feb 19, 2021                                           Form ID: 769                                                          Total Noticed: 35
18972052              + EDI: ESSL.COM
                                                                                   Feb 20 2021 02:48:00     Dish Network, RE: XXX XXX 3044, 9601 S
                                                                                                            Meridian Blvd, Englewood, CO 80112-5905
18972053              + Email/Text: E470BANKRUPTCYCOURT@E470.COM
                                                                                   Feb 20 2021 01:34:00     E-470, RE: XXX XXX 7377, 22470 E. Stephen D.
                                                                                                            Hogan Pkwy, Ste 110, Aurora, CO 80018-2426
18972054              + Email/Text: jstauffe_bk@ebay.com
                                                                                   Feb 20 2021 01:34:00     Ebay, RE: XXX XXX 0000, 7700 W Parmer Lane,
                                                                                                            Bldg D, Austin, TX 78729-8102
18972060              + Email/Text: PBNCNotifications@peritusservices.com
                                                                                   Feb 20 2021 01:33:00     Kohls, RE: XXX XXX 5835, PO Box 3004,
                                                                                                            Milwaukee, WI 53201-3004
18972061              + EDI: RMSC.COM
                                                                                   Feb 20 2021 02:48:00     Pay Pal Synchrony Bank, RE: XXX XXX 3673,
                                                                                                            PO Box 965061, Orlando, FL 32896-5061
18972072              + Email/Text: brprocessor@pfccollects.com
                                                                                   Feb 20 2021 01:34:00     Professional Finance Co, RE: XXX XXX 9467,
                                                                                                            5754 W 11th St, Ste 100, Greeley, CO 80634-4811
18972067              + EDI: WTRRNBANK.COM
                                                                                   Feb 20 2021 02:48:00     Target Bankruptcy Department, RE: XXX XXX
                                                                                                            0349, PO Box 1327, Minneapolis, MN
                                                                                                            55440-1327

TOTAL: 14


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 21, 2021                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 18, 2021 at the address(es) listed
below:
Name                             Email Address
Ingrid J. DeFranco
                                 on behalf of Debtor Audrey K Naomi Dolan ingrid.defranco@gmail.com

John Smiley
                                 jsmiley@smileytrustee.com jsmiley@ecf.axosfs.com

US Trustee
                                 USTPRegion19.DV.ECF@usdoj.gov


TOTAL: 3
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Information to identify the case:

Debtor 1:
                      Audrey K Naomi Dolan                                       Social Security number or ITIN:   xxx−xx−1109
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        District of Colorado                      Date case filed for chapter:        7     2/18/21

Case number:           21−10768−TBM

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/17

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Audrey K Naomi Dolan

2.        All other names used in the
          last 8 years

3.      Address                                  581 Delta Avenue
                                                 Akron, CO 80721

4.      Debtor's attorney                        Ingrid J. DeFranco                                   Contact phone 303−443−1749
                                                 PO Box 128                                           Email ingrid.defranco@gmail.com
        Name and address                         Brighton, CO 80601−0128

5.      Bankruptcy trustee                       John Smiley                                          Contact phone 303−454−0540
                                                 600 17th Street                                      Email jsmiley@smileytrustee.com
        Name and address                         Suite 2800S
                                                 Denver, CO 80202
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline COB#769
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b309a_7cna
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Debtor Audrey K Naomi Dolan                                                                                             Case number 21−10768−TBM


The person designated as Bankruptcy Trustee on the front side of this form has been selected as Interim Trustee of the bankruptcy estate and the trustee's
previously−filed blanket bond is approved. Unless another trustee is elected at the meeting of creditors, the trustee shall serve without further appointment
or qualification. The trustee is deemed to have accepted the appointment, unless the trustee notifies the Court and the U.S. Trustee in writing of any
rejection within seven days after receipt of notice of selection.
6. Bankruptcy clerk's office                     US Bankruptcy Court                                             Hours open Monday − Friday 8:00
                                                 US Custom House                                                 AM − 4:30 PM
     Documents in this case may be filed at this 721 19th St.
     address. You may inspect all records filed Denver, CO 80202−2508                                            Contact phone 720−904−7300
     in this case at this office or online at
     www.pacer.gov.
                                                                                                                 Date: 2/19/21

7. Meeting of creditors                           March 18, 2021 at 09:00 AM                                     Location:

     Debtors must attend the meeting to be        The meeting may be continued or adjourned to a later date.     Telephonic Meeting of Creditors,
     questioned under oath. In a joint case,      If so, the date will be on the court docket.                   Please call five minutes in
     both spouses must attend. Creditors may
     attend, but are not required to do so.                                                                      advance, Conference Number −
                                                  Under Bankruptcy Rule 4002(b)(1)−(2), you shall bring the      888−395−7928, Passcode −
                                                  following to the meeting of creditors:
                                                                                                                 4268596
                                                  1) picture identification issued by a governmental unit, or
                                                  other personal identifying information that establishes the
                                                  debtor's identity AND evidence of a social security number
                                                  OR a written statement that such docmumentation does not
                                                  exist;

                                                  2) documents or copies of a) debtor's current income such
                                                  as the most recent payment advice, pay stub, or earnings
                                                  statement; and b) statements for each of the debtor's
                                                  depository accounts (bank, credit union and investment) for
                                                  the time period that includes the date of the filing of the
                                                  petition OR a written statement that such documentation
                                                  does not exist; and

                                                  3) documentation of monthly expenses claimed if required
                                                  under 11 U.S.C. §707(b)(2)(A) or (B).


8. Presumption of abuse                           The presumption of abuse does not arise.

     If the presumption of abuse arises, you
     may have the right to file a motion to
     dismiss the case under 11 U.S.C. §
     707(b). Debtors may rebut the
     presumption by showing special
     circumstances.


9. Deadlines                                    File by the deadline to object to discharge or                   Filing deadline: 5/17/21
                                                to challenge whether certain debts are
     The bankruptcy clerk's office must receive dischargeable:
     these documents and any required filing
     fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                              Filing deadline: 30 days after the
                                                                                                                 conclusion of the meeting of creditors


                                                  The law permits debtors to keep certain property as
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.
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    The case trustee must receive these          Deadline to provide documents:                                   Filing deadline: 7 days before the the
    documents by the following deadlines.                                                                         meeting of creditors


                                                 You shall provide to the case trustee a copy of the federal
                                                 income tax return required under applicable law, or a
                                                 transcript of such return, for the most recent tax year ending
                                                 immediately before the commencement of the case and for
                                                 which a federal income tax return is filed, and provide the
                                                 same tax information to creditors that requested a copy at
                                                 least fourteen days prior to the meeting of creditors. See
                                                 Fed. R. Bankr. P. 4002(b). The debtor's failure to comply
                                                 will result in dismissal of the case unless the debtor
                                                 demonstrates that the failure to comply is due to
                                                 circumstances beyond the control of the debtor.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.


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